                                   No. 22-50144

             In the United States Court of Appeals
                     for the Ninth Circuit

                         UNITED STATES OF AMERICA,
                                 APPELLEE

                                        v.

                           JEFFREY FORTENBERRY,
                           DEFENDANT-APPELLANT



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE CENTRAL DISTRICT OF CALIFORNIA (CRIM. NO. 21-491)
              (THE HONORABLE STANLEY BLUMENFELD, JR., J.)



                             BRIEF OF APPELLANT



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                     STATEMENT OF JURISDICTION
      The district court entered final judgment on June 28, 2022. See 1-ER-2.

Appellant filed a notice of appeal on June 29, 2022. See 9-ER-2099. The juris-

diction of this Court rests on 28 U.S.C. § 1291. The district court had jurisdic-

tion under 18 U.S.C. § 3231. Appellant did not receive a custodial sentence

and thus is neither in custody nor on bail release. See 2-ER-164.

                      STATEMENT OF THE ISSUES
      1.    Whether venue was improper in the Central District of California.

      2.    Whether the district court erred by failing to instruct the jury that

a false statement is not material for purposes of 18 U.S.C. § 1001 merely be-

cause it causes the government to investigate the truth of the statement itself.

                       STATEMENT OF THE CASE
      This case involves an unprecedented prosecution in which the Depart-

ment of Justice hauled a sitting member of Congress across the country to

stand trial in a foreign jurisdiction on charges of making false statements more

than a thousand miles away. Federal agents directed an informant to call ap-

pellant Jeffrey Fortenberry—then a congressman representing the first dis-

trict of Nebraska—and make statements suggesting that illegal donations had

been made to his campaign without his knowledge. The government then in-

terviewed the Congressman and prosecuted him on the basis of the statements

made in those interviews about the very call they orchestrated. Despite the

fact that the Congressman made the relevant statements in Nebraska and

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California. And although the Congressman’s statements misled no one, the

district court allowed the jury to find that the statements were material based

on the circular theory that the statements triggered a further investigation

into the truth of those very statements.

      In 2017, after a years-long investigation into a suspected conspiracy to

make illegal contributions to multiple political campaigns, one of the targets of

the investigation—Dr. Elias Ayoub—began cooperating with the investiga-

tion. Among other things, Dr. Ayoub admitted that he and several of his family

members had donated money he received from a foreign national to several

federal campaigns, including to Congressman Fortenberry’s campaign at a

fundraising event in 2016.

      Congressman Fortenberry did not know the true source of those funds.

But in 2018, when he reached out to Dr. Ayoub to see if he would be willing to

host another fundraiser, the government instructed Dr. Ayoub to place a

phone call to the Congressman and to make statements suggesting the Con-

gressman’s campaign had received illegal contributions at the 2016 fundraiser.

At the government’s direction, Dr. Ayoub told the Congressman that the fund-

raiser likely would not raise as much money this time because, at the earlier

fundraiser, he had been given $30,000 “cash” to help with his campaign, which

“probably” came from a foreign national named Gilbert Chagoury.




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      Nine months later, government agents appeared unannounced at Con-

gressman Fortenberry’s home in Nebraska to conduct an interview. The

agents initially represented that they were from the Omaha office of the Fed-

eral Bureau of Investigation (FBI), but they were actually from Los Angeles.

The agents wanted to interview the Congressman to test his credibility; in the

internal memorandum seeking approval for the interview, the lead FBI agent

expressly noted that the Congressman may be charged for making false state-

ments. Stating they were conducting a “background investigation” with a “na-

tional security” aspect, the agents persuaded the Congressman to allow them

to enter his home at night to answer their questions. During the interview,

the agents asked him whether he was “aware” of any foreign or conduit con-

tributions to his campaign. He said that he was not; he attempted to bring up

a “comment” to that effect from his call with Dr. Ayoub, but the conversation

turned to other topics. The Congressman also noted that all the contributions

to his campaigns were publicly disclosed in his reports to the Federal Election

Commission.

      Several months later, Congressman Fortenberry agreed to participate

in a second interview with federal agents in Washington, D.C. Once again, he

denied knowledge of foreign or conduit contributions to his campaign and

stated that he had reported all donations on his campaign filings. Once again,




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however, he noted that Dr. Ayoub had made a concerning comment to the ef-

fect that contributions at any future fundraiser would not be as large because

Gilbert Chagoury would not be involved. The Congressman made clear that

this comment was concerning to him because Mr. Chagoury was a foreign na-

tional.

      Based on those statements, the government charged Congressman

Fortenberry with three counts of false statements under 18 U.S.C. § 1001. De-

spite the fact that he made the relevant statements during in-person inter-

views in Nebraska and Washington, D.C., the government brought its indict-

ment in the Central District of California. The case was tried there over the

Congressman’s objection, and he was convicted on all counts.

      Congressman Fortenberry’s convictions cannot stand for two reasons.

First, venue was improper in the Central District of California. Venue for a

criminal prosecution is proper only in the State and district in which the de-

fendant committed the acts that constitute the alleged crime. And here, those

acts were the statements that were communicated and received during in-per-

son interviews in Nebraska and Washington, D.C. Second, the district court

gave inadequate jury instructions that did not appropriately define the ele-

ment of materiality for purposes of Section 1001. The instructions permitted

the jury to convict the Congressman based merely on the capacity of the state-




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ments to cause the government to investigate the truth of those same state-

ments. But other courts of appeals have rejected that limitless theory of ma-

teriality, and sanctioning it here would render that crucial element effectively

meaningless.   For each of those reasons, the Congressman’s convictions

should be vacated.

      A.    Background
      1.    Appellant Jeffrey Fortenberry served as a Republican member of

Congress representing Nebraska’s first district for nearly twenty years. See

D. Ct. Dkt. 207, at 21 (presentence report). Before his election to Congress,

he served on the Lincoln City Council for four years. See id. A congressional

colleague from the Democratic Party described him at trial as a “deeply de-

voted husband and father, a man dedicated to service to others, a person who

possesses humility and integrity, and a person who is devoid of arrogance.” 2-

ER-180. A former chief probation officer who knows the Congressman stated

that he has “never met a more honorable, honest, dedicated and caring man,

son, husband, father and committed representative of his constituents, com-

munity and country.” 2-ER-182.

      Congressman Fortenberry’s tenure in Congress was marked by a deep

concern for human rights, particularly those of persecuted religious minority

groups. In connection with his work advocating for religious minorities around




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the world, see 3-ER-472, the Congressman became acquainted with a non-

profit known as In Defense of Christians, which advocates for Christian mi-

norities in the Middle East, and its founder and president, Toufic Baaklini. 5-

ER-805, 5-ER-811. The Congressman also met Gilbert Chagoury, an affluent

foreign national who provided financial support to In Defense of Christians

and other efforts to protect religious minorities in the Middle East. 5-ER-827–

28, 5-ER-830–31. Elias Ayoub, an American citizen, physician, and honorary

board member of the organization, briefly introduced himself to the Congress-

man at two of the organization’s events. 5-ER-1050–53.

      In 2016, In Defense of Christians organized a series of events for Con-

gressman Fortenberry in Los Angeles. See 3-ER-473; 6-ER-1124, 6-ER-

1128–32. A fundraiser was held on the evening of February 20, 2016, at a Los

Angeles home. 4-ER-656. The Congressman’s campaign received $36,000 in

contributions, all of which were paid by check and disclosed to the Federal

Election Commission. 5-ER-1002–03, 5-ER-1022. Unbeknownst to the Con-

gressman, however, $30,000 of those contributions had been provided by Mr.

Chagoury to Mr. Baaklini, who in turn provided funds to Dr. Ayoub to reim-

burse other fundraiser attendees who made individual contributions to the

Congressman’s campaign. 8-ER-1937, 8-ER-1976–77. Federal election law

prohibits foreign nationals from contributing directly or indirectly to a cam-

paign for federal, state, or local office. See 52 U.S.C. §§ 30122, 30131. The



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following day, the Congressman attended a Maronite mass with the commu-

nity and a gala luncheon, at which he received a knighthood in the Order of

Saint Gregory, an honor bestowed by the Vatican for extraordinary service.

4-ER-656.

     Also unbeknownst to Congressman Fortenberry, since 2015, the govern-

ment had been investigating persons affiliated with In Defense of Christians,

including Mr. Chagoury, Mr. Baaklini, and Dr. Ayoub, for potential violations

of federal election laws. 4-ER-530–31, 4-ER-536, 4-ER-546–547. That inves-

tigation had uncovered several illegal contributions like those made to the

Congressman, including to Mitt Romney’s 2012 presidential campaign and

Darrell Issa’s 2014 congressional campaign. 4-ER-537–38.

     Dr. Ayoub was eventually confronted by the FBI and began cooperating

with the investigation. 4-ER-561–65. In 2018, Congressman Fortenberry con-

tacted Dr. Ayoub about the possibility of hosting another fundraiser for him

in Los Angeles, and Dr. Ayoub informed the government about that request.

4-ER-596–97. An initial call between the Congressman and Dr. Ayoub, rec-

orded by the FBI, was uneventful; the Congressman said nothing to suggest

he had any knowledge of the illegal nature of the contributions made to his

campaign in 2016. 5-ER-1097–1103; 6-ER-1105. The government then in-




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structed Dr. Ayoub to call the Congressman again and make certain state-

ments suggesting that the Congressman’s campaign had received illegal con-

tributions at the 2016 fundraiser. 4-ER-599–602, 4-ER-606–10.

      Dr. Ayoub placed the call to the Congressman’s mobile phone on the

morning of June 4, 2018. 4-ER-687, 4-ER-698. During the call, an agent from

the FBI sat next to Dr. Ayoub, listened to and recorded the call, and guided

Dr. Ayoub about what to say using a list of discussion topics. See 4-ER-609-

610, 4-ER-653; 9-ER-2060. At the agent’s request, Dr. Ayoub told the Con-

gressman that he could host another fundraiser but that “we won’t be able to

donate as much money as we did last time” because Mr. Baaklini had given Dr.

Ayoub $30,000 in “cash” to give to the campaign. 4-ER-610; 9-ER-2062. Alt-

hough the Congressman’s campaign received no cash at the fundraiser, the

lead FBI agent testified that he instructed Dr. Ayoub to emphasize the term

“cash.” 4-ER-610. The Congressman assured Dr. Ayoub that “there would be

no expectation of the types of funds that were there last time” and that he was

thinking of a “small, more intimate” setting for the fundraiser. 9-ER-2062.

Dr. Ayoub then told the Congressman that “probably the money did come

from Gilbert Chagoury . . . because he was so grateful for your support.”

9-ER-2063. The Congressman responded by speaking about the work he was

doing in Congress to provide funding for rebuilding Christian communities in

the Middle East. 9-ER-2064. Before the end of the call, Dr. Ayoub suggested



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that “[Mr. Baaklini] can ask [Mr. Chagoury] to give us some money to donate

to you.” 9-ER2064. The Congressman said that he could discuss “an event

for[] the community” with Mr. Baaklini, and “in the meanwhile” it “would be

great” if “people want to contribute individually.” 9-ER-2064.

     Approximately nine months after Congressman Fortenberry received

the call from Dr. Ayoub, the same FBI agent who oversaw the call from Dr.

Ayoub arrived unannounced at the Congressman’s home in Nebraska, to-

gether with an IRS agent from Los Angeles; they falsely stated they were

from the FBI’s Omaha office. 6-ER-1286–87, 6-ER-1292–93. The Congress-

man had just returned to Nebraska the night before, after a week of official

duties in Kenya, and he was not home when the agents first arrived because

of an emergency trip inspecting flood damage in his district caused by an un-

precedented “bomb cyclone” storm. 6-ER-1287–89; 8-ER-1851–52. When the

agents first arrived, they told the Congressman’s wife that they were conduct-

ing a “background investigation that had a national security interest or com-

ponent.” 6-ER-1234. The same information was provided to the Congressman

in a voicemail message. 6-ER-1236–37. The agents admitted at trial that this

was a “ruse” used to trick the Congressman into speaking with them. See 6-

ER-1293.




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      According to an internal memorandum used to obtain approval for the

interview, the purpose of the interview was to develop evidence to charge Con-

gressman Fortenberry with a crime, including specifically the crime of making

false statements. See 9-ER-2097. In the memorandum, the lead FBI agent

stated: “Case agents will also seek to indict Fortenberry with Misprision of

Felony and Conduit Contributions. In addition[,] if case agents determine

from the interview that Fortenberry is making false statements[,] he will be

charged with False Statement.” 9-ER-2097. During the nighttime interview

in Congressman Fortenberry’s living room, the agents eventually asked him a

series of vague questions as to whether he was aware of any foreign or conduit

contributions to his campaign. See 9-ER-2067–72. He denied being aware of

any such contributions. See 9-ER-2070, 9-ER-2072. He also noted in passing

that all contributors to his campaigns had been “publicly disclosed” in his re-

ports to the Federal Election Commission. 9-ER-2074. The Congressman did

mention a “comment” that he believed was made by Dr. Ayoub, but the con-

versation turned to other topics. See 9-ER-2076–78.

      After receiving the call from Dr. Ayoub, Congressman Fortenberry con-

tacted his election lawyer, who called the Congressman’s chief of staff a few

days later. See 4-ER-773–75, 4-ER-779–82; 9-ER-2089–91. The Congressman

later waived privilege so that the agents could speak with his lawyer about the




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call. 4-ER-773. The lawyer could not recall the particulars of those conversa-

tions. 4-ER-793–94.

      Following the informal interview at his home, Congressman Forten-

berry offered to provide any additional assistance needed for the investigation.

6-ER-1392. In July 2019, several agents, including the assistant United States

attorney who would later act as the government’s lead trial counsel, met with

the Congressman in Washington, D.C., for approximately two hours. 6-ER-

1392–93. During the course of that interview, the Congressman openly dis-

cussed his connections to Mr. Chagoury, Mr. Baaklini, and Dr. Ayoub. 6-ER-

1397. In response to questions from agents, the Congressman once again

maintained that he was not aware of any illicit contributions to his campaign.

9-ER-2087. He also told the agents about the phone call he had with Dr. Ay-

oub; while he could not recall the precise words, he remembered Dr. Ayoub

saying something to the effect that “the amounts wouldn’t be as large because

Gilbert won’t be involved.” 9-ER-2081. The Congressman told the agents that

the comment had “caused [him] concern” but that he “didn’t know what it

meant.” 9-ER-2083.

      During the interview, the assistant United States attorney followed up

by asking Congressman Fortenberry a precise question about the call from

Dr. Ayoub: “During that conversation, did Dr. Ayoub tell you that Toufic

Baaklini had given Dr. Ayoub thirty-thousand dollars cash to help fund your



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fundraiser?” 9-ER-2087. The Congressman denied hearing that, elaborating

that such information would have been “horrifying.” 9-ER-2088.

      Based on his learning of the source of the funds after the meeting, Con-

gressman Fortenberry “wanted to return the money immediately,” but was

told by the agents that doing so “would hurt the investigation.” 7-ER-1647.

After further consultation with government agents, the Congressman donated

the money to charity. 7-ER-1648.

      B.    Proceedings Below
      1.    On October 19, 2021, a grand jury in the Central District of Cali-

fornia indicted Congressman Fortenberry on two counts of making false state-

ments to the government and one count of concealing material facts, in viola-

tion of 18 U.S.C. § 1001(a)(1) and (a)(2). 2-ER-192–203. The charges were

based on the Congressman’s statements during the interviews in Nebraska

and Washington, D.C., that he was not aware of illegal contributions to his

campaign at the 2016 fundraiser, and that his campaign contributions were all

disclosed in his reports to the Federal Election Commission, as well as his de-

nial in the Washington interview of learning specifically that Mr. Baaklini had

provided Dr. Ayoub with $30,000 cash to make conduit contributions. See 2-

ER-192–203.

      Before trial, Congressman Fortenberry moved to dismiss the indict-

ment for lack of venue and for failure to allege facts demonstrating that the



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alleged false statements were material for purposes of Section 1001. See 9-

ER-2109 (D. Ct. Dkt. 14, 17). The district court denied both motions. See 1-

ER-109–125. Citing Supreme Court precedent, the court noted that venue de-

pends on where the “essential conduct elements of the offense” took place. 1-

ER-113. But the court rejected the Congressman’s argument that the essen-

tial conduct was the making of the statements at issue. 1-ER-114. Instead,

the court reasoned that, because a false statement is unlawful only when it is

material, materiality is also an essential conduct element. 1-ER-114. The

court concluded that “the statute requires consideration of both the statement

and its potential effect,” and that “the act of making a materially false state-

ment occurs not only where the statement is made, but also where it is di-

rected.” 1-ER-116–17.

      The district court proceeded to determine that Congressman Forten-

berry’s false statements had a “potential effect” on an investigation occurring

in the Central District of California, making venue proper. 1-ER-116. At the

same time, however, the district court recognized that this Court “has not ad-

dressed the issue of venue in the context of Section 1001(a),” and that other

courts of appeals have reached conflicting results. 1-ER-117. The district

court further determined that the indictment had sufficiently alleged materi-

ality because it contained facts that “raise an inference that the allegedly false




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statements either influenced or were capable of influencing the federal inves-

tigation.” 1-ER-119.

      The case proceeded to trial, where the government played recordings of

the 2016 call with Dr. Ayoub, as well as the two interviews with Congressman

Fortenberry. See 5-ER-1098; 6-ER-1239, 6-ER-1394. The Congressman pre-

sented evidence calling into question whether he accurately heard and recalled

every word of the call from Dr. Ayoub. See 8-ER-1819–63. The defense also

argued that the Congressman accurately reported the gist of the call to the

federal agents and that he would not have understood the specific comment he

denied during the Washington interview if he had missed even a word or two

of the call. See 8-ER-1993–96. The government also called Dr. Ayoub and Mr.

Baaklini as witnesses. See 4-ER-799–803; 5-ER-933, 5-ER-1024–1103; 6-ER-

1105–62. Both testified that they did not tell the Congressman the contribu-

tions were unlawful at the time they were made. 5-ER-921; 6-ER-1121. To

the contrary, both testified that they concealed the illicit nature of the contri-

butions from the Congressman. 5-ER-924; 6-ER-1121.

      The government also called as witnesses the federal agents who con-

ducted the investigation. See 6-ER-1162–1342, 6-ER-1372–1403; 7-ER-1405–

1543. The agents testified about how they viewed Congressman Fortenberry’s

statements during the two interviews. IRS agent James O’Leary testified that




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the Congressman’s statements that he was not aware of any illegal contribu-

tions during the Nebraska interview were “significant to the [f]ederal investi-

gation.” 6-ER-1279. When asked why, Agent O’Leary explained that the “ba-

sis of asking and listening to the answers to those questions w[as] to under-

stand that they’re false” based on the call with Dr. Ayoub. 6-ER-1279. Agent

Edward Choe similarly testified that the Nebraska interview “heightened [the

government’s] concerns about the defendant . . . [b]ecause the statements

that the defendant made during the interview were inconsistent with . . .

the information that had been told to him by [Dr.] Ayoub during the phone

call.” 6-ER-1391. As for the interview in Washington, Agent Choe testified

that the government was already “considering whether it would be appropri-

ate to bring a false statements charge against” the Congressman. 6-ER-1392.

Agent Choe added that, as a result of the interviews, the government “re-

viewed the defendant’s [Federal Election Commission] filings,” “set up addi-

tional interviews,” and “obtained text messages from Toufic Baaklini” to de-

termine if the Congressman was telling the truth. 7-ER-1430, 7-ER-1450.

      Before the charge conference, the parties submitted competing jury in-

structions concerning the element of materiality. See 9-ER-2126 (D. Ct. Dkt.

162, 163). As relevant here, Congressman Fortenberry requested that the

court instruct the jury that “[a] false statement is not material merely because

it causes the government to investigate the veracity (truth or falsehood) of the



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statement itself.” 1-ER-106. The court rejected that instruction because it did

“not believe that the law supports that definition of materiality.” 8-ER-1763.

The court instead instructed the jury simply that materiality requires that a

fact “had a natural tendency to influence, or was capable of influencing, the

decisions or activities of a government agency,” and that “[t]he false statement

need not have actually influenced the agency, and the agency need not rely on

the information in fact[,] for it to be material.” 1-ER-14.

      The jury convicted Congressman Fortenberry of all three counts. 2-ER-

186–191. The district court sentenced him to two years of probation and 320

hours of community service and fined him $25,000. 2-ER-164. In explaining

its decision not to impose a custodial sentence, the court noted that, “[b]y all

accounts, the defendant is a man of exceptional character” and that “every

witness who testified about Mr. Fortenberry’s character agreed . . . that he

is a person of good, moral, honest character.” 2-ER-152.

                       SUMMARY OF ARGUMENT
      The prosecution in this case was misguided from the moment it began.

The government directed an informant to make certain statements on a rec-

orded phone call that Congressman Fortenberry took in Nebraska. Nine

months later, agents showed up unannounced at the Congressman’s home in

Nebraska to ask him about those same statements, with express hopes of

catching him in a lie. Agents later interviewed him in Washington, D.C. Yet



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the government indicted him in the Central District of California—more than

a thousand miles from any of the events giving rise to the charges. There is

no precedent for such a prosecution. The decision to charge the Congressman

in Los Angeles rather than Lincoln violated the constitutional limits on venue

in criminal prosecutions. And by refusing to administer a legally correct jury

instruction, the district court allowed the jury to convict him based on an im-

permissible theory of materiality. Congressman Fortenberry’s convictions

should be vacated.

      I.    Venue was improper in the Central District of California.

      A.    Both Article III and the Sixth Amendment of the Constitution pro-

tect the right of criminal defendants to be tried in the State and district in

which the crime was allegedly committed—that is, the locus delicti. To deter-

mine the locus delicti, courts look to the essential conduct elements of a crime

and then determine where the conduct took place. Other elements of the crime

that do not focus on the defendant’s conduct may be essential to proving a

statutory violation, but they are of no moment for determining proper venue.

      B.    The proper venue for prosecution under 18 U.S.C. § 1001(a)(1) and

(a)(2) is the location where the false statement was made. For the crimes pro-

scribed by those provisions, the only conduct element is the making of the false

statement (or the concealment of a fact). As the Tenth and Eleventh Circuits

have held, the location where that conduct takes place is thus the only relevant



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location for purposes of the locus delicti analysis. The remaining elements of

the offense—federal jurisdiction, mens rea, and materiality—describe the cir-

cumstances that must surround the defendant’s conduct, but they do not de-

fine the defendant’s conduct itself.

      Here, Congressman Fortenberry made the statements in question in

Nebraska and Washington, D.C. Venue was improper more than a thousand

miles away in the Central District of California.

      C.    The district court erred by adopting an effects-based test, which

shifted the focus of the venue analysis from the defendant’s conduct (as the

locus delicti test demands) to the conduct’s potential effects. In so doing, the

district court conflated the distinction between a statute’s essential conduct

elements and its essential elements more generally, incorrectly concluding

that materiality is a conduct element simply because it is an essential element

of the crime. But the potential effect of a statement on the government’s de-

cisionmaking—the salient question for assessing materiality—is separate

from the defendant’s conduct and is not the focus of the locus delicti analysis.

The effects test is also inappropriate in the context of Section 1001 because the

materiality inquiry under that statute requires only a “potential” effect on gov-

ernmental decisionmaking.

      Although some other courts of appeals have adopted the effects test ap-

plied by the district court, those decisions are inconsistent with Supreme



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Court precedent and are based on the same errors of reasoning as the district

court’s decision. Those decisions similarly conflate essential conduct elements

with essential elements more generally, and they miss the point that an actual

effect on the government is not required in order to prove materiality.

      D.    The district court did not rely on the special venue statute for con-

tinuing offenses, and it was correct not to do so. Continuing offenses “span

space and time,” and venue under that statute is appropriate in any district in

which the offense was “begun, continued, or completed.” Here, however, Con-

gressman Fortenberry made the relevant statements in person to government

agents in a single location at a single time. The alleged crimes were completed

the moment the statements were made in Nebraska and Washington, D.C.

Venue in California was thus inappropriate, and the Congressman’s convic-

tions should be vacated.

      II.   The district court separately erred by giving jury instructions that

inadequately defined materiality and allowed the jury to convict Congressman

Fortenberry on a legally insufficient basis.

      A.    A statement is not “material” for purposes of Section 1001 merely

because it could cause the agency to investigate the truth of the statement it-

self. A statement is instead material only if it is capable of influencing a par-

ticular governmental decision. To determine if a statement is material, a

court must identify both the statement and the governmental decision at issue.



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In considering the appropriate governmental decision, courts of appeals have

made clear that a decision involving an investigation into the truth of a false

statement itself—as opposed to the subject matter of the underlying investi-

gation—is not the type of decision that can support materiality. As those

courts have explained, holding otherwise would render the materiality element

meaningless, because every false statement would necessarily be capable of

influencing such an investigation.

      B.    A contrary result would raise serious constitutional concerns.

Such a reading would allow for arbitrary and discriminatory law enforcement

by permitting the government to prosecute any false statement made to any

government official. The Supreme Court has repeatedly refused to embrace

such overly broad interpretations of criminal statutes. This Court should do

the same.

      C.    The district court erred by declining to adopt Congressman

Fortenberry’s proposed jury instruction on materiality. The court rejected

that instruction on the ground that it constituted a misstatement of law under

Brogan v. United States, 522 U.S. 398 (1998). But Brogan did not involve ma-

teriality at all. Rather, it presented the question whether there is an atextual

exception to Section 1001 under which a denial of wrongdoing does not consti-

tute a “statement.” Brogan thus has no bearing on the distinct question of the

relevant governmental decision for purposes of materiality.



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      D.    The insufficient jury instruction requires vacatur of Congressman

Fortenberry’s conviction. Without an appropriate instruction, the jury was

permitted to convict the Congressman based upon a legally inadequate theory.

And where the jury is permitted to consider a legally inadequate theory of the

crime along with other, legally valid ones, vacatur is required. Here, the jury

heard evidence that the Congressman’s statements were important because

they caused the government to investigate whether those same statements

were true. Government agents testified that they conducted the interviews to

test the Congressman’s credibility, determine whether he would misrepresent

the phone call from Dr. Ayoub, and, if so, consider bringing a false-statements

charge. The agents then testified that they took several further investigative

steps (such as reviewing the Congressman’s federal-election reports) to deter-

mine whether he was lying during those interviews. In light of that testimony,

the improperly instructed jury could have found materiality based merely on

the government’s decision to further investigate the truth of the Congress-

man’s statements. Because the resulting convictions were legally insufficient,

they should be vacated.

                          STANDARD OF REVIEW

      This Court reviews a district court’s denial of a motion to dismiss for

improper venue de novo. See, e.g., United States v. Hsiung, 778 F.3d 738, 745

(9th Cir. 2015). This Court also reviews de novo whether a jury instruction



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correctly states the law. United States v. Renzi, 769 F.3d 731, 755 (9th Cir.

2014). A new trial is warranted “if the instruction actually given was mislead-

ing or inadequate to guide the jury’s deliberation.” Id.

                                 ARGUMENT

I.    VENUE WAS IMPROPER IN THE CENTRAL DISTRICT OF
      CALIFORNIA
      The government tried Congressman Fortenberry in the Central District

of California on charges of making false statements in interviews conducted in

Nebraska and Washington, D.C. But multiple provisions of the Constitution

protect the right of criminal defendants to be tried in the place where the crime

was committed. The Supreme Court has interpreted those provisions to re-

quire a prosecution to occur in the location in which the accused committed the

conduct giving rise to criminal liability. Here, those acts were the communi-

cation of the false statements, which did not occur anywhere near the Central

District of California. In holding otherwise, the district court adopted an ef-

fects-based test for determining venue in a criminal case. That was erroneous.

Venue was improper, and the Congressman’s convictions should therefore be

vacated.

      A.    The Constitution Requires A Prosecution To Proceed In The
            Venue Where The Crime Was Committed
      As the Supreme Court has explained, “[p]roper venue in criminal pro-

ceedings was a matter of concern to the Nation’s founders.” United States v.


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Cabrales, 524 U.S. 1, 6 (1998). To protect against the injustice of subjecting a

defendant to a trial “in some distant state, away from his friends, witnesses,

and neighborhood,” the Framers “designed a system that requires trial in the

vicinity of the crime.” United States v. Lozoya, 982 F.3d 648, 651 (9th Cir.

2020) (citation omitted).

      Two separate provisions of the Constitution protect the right of a crimi-

nal defendant to be tried by a jury of his peers in the place in which the crime

was committed—the locus delicti. Article III, Section 2, provides that “[t]he

trial of all crimes, except in cases of impeachment, shall be by jury; and such

trial shall be held in the State where the said crimes shall have been commit-

ted.” The Sixth Amendment, too, requires trial “by an impartial jury of the

State and district wherein the crime shall have been committed.” Underscor-

ing the right, Federal Rule of Criminal Procedure 18 provides that “prosecu-

tion shall be had in the district in which the offense was committed.”

      While Congress has some authority to specify where a crime is commit-

ted for venue purposes, see, e.g., United States v. Anderson, 328 U.S. 699, 703

(1946), it is often silent on the issue. Where that is so, a court determines the

locus delicti by looking to the “nature of the crime alleged and the location of

the act or acts constituting it.” Id. A court identifies the nature of the crime

by assessing “the acts of the accused that violate a statute.” Johnston v.

United States, 351 U.S. 215, 220 (1956); see also Anderson, 328 U.S. at 705. A



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court identifies those acts—that is, the “conduct that constitutes an offense”—

by looking to the “essential conduct elements” of the crime and then determin-

ing where the conduct took place. United States v. Rodriguez-Moreno, 526

U.S. 275, 280 (1999). Other elements of the crime that do not constitute a part

of the defendant’s conduct, including “circumstance element[s],” are not taken

into account in determining the place of the crime. Id. at 280 n.4.

      The Supreme Court’s decision in Cabrales, supra, illustrates the distinc-

tion between conduct and non-conduct elements. In Cabrales, the Court con-

sidered the appropriate venue for prosecuting the violation of money-launder-

ing statutes that prohibit financial transactions where the funds were the pro-

ceeds of “specified unlawful activity” and the defendant knew that the funds

came from an illicit source. 524 U.S. at 8. The Court held that venue was

proper only in Florida, the State in which the financial transactions took place.

See id. at 7-8. The location of the specified unlawful activity—drug trafficking

in Missouri—was “of no moment” for venue purposes, id. (citation omitted),

because the money-laundering statutes at issue “interdict[ed] only the finan-

cial transactions” themselves, id. at 7. The Court noted that the defendant

was not charged with involvement in the Missouri drug trafficking and that

the government need only prove that the defendant knew she was dealing with

funds derived from that unlawful activity. Id. at 8. Because involvement with




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the drug trafficking was not a conduct element of money laundering, the Court

concluded that venue was improper in Missouri. See id. at 7-8.

      The Supreme Court’s decision in Rodriguez-Moreno, supra, is also illus-

trative. At issue there was the appropriate venue for a charge of using or car-

rying a firearm during and in relation to a crime of violence under 18 U.S.C.

§ 924(c)(1). See 526 U.S. at 276. The defendant had possessed a firearm only

in Maryland, but the underlying crime of violence—a kidnapping—had contin-

ued across several states, including New Jersey. See id. at 277. The Court

held that venue was proper in New Jersey. See id. at 280-281. As the Court

explained, an “essential conduct element” of the crime was that the defendant

“committed all the acts necessary to be subject to punishment for kidnaping,”

as well as that he “used a firearm.” Id. at 280. The Court contrasted the situ-

ation before it with Cabrales, explaining that the requirement to show under-

lying unlawful activity in Cabrales was merely a “circumstance element” that

need not involve the defendant at all. Id. at 280 n.4.

      The Supreme Court has also taught that, where a criminal statute is am-

biguous as to which elements constitute conduct elements, a court should take

a restrictive approach to the statute for venue purposes. If Congress chose

not to provide for “a choice of trial” by specifying venue, a court should not

interpret a criminal statute broadly to allow for venue in multiple places.

United States v. Johnson, 323 U.S. 273, 276 (1944). That is so even if the



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broader interpretation is reasonable: “If an enactment of Congress equally

permits the underlying spirit of the constitutional concern for trial in the vici-

nage to be respected rather than to be disrespected, construction should go in

the direction of constitutional policy even though not commanded by it.” Id.

      B.    The Proper Venue For A Section 1001 Prosecution Is The Lo-
            cation Where The False Statement Was Made
      Because Congress did not specify a venue for the prosecution of offenses

under Section 1001, this Court must determine where “the conduct that con-

stitutes [the] offense” occurred. Rodriguez-Moreno, 526 U.S. at 280. As is

relevant here, Section 1001 imposes criminal penalties on anyone who, with

respect to a matter within the federal government’s jurisdiction, knowingly

and willfully (1) “falsifies, conceals, or covers up by any trick, scheme, or device

a material fact” or (2) “makes any materially false, fictitious, or fraudulent

statement or representation.” 18 U.S.C. § 1001(a)(1) & (2). Section 1001 thus

includes four applicable elements:

      (1)   the defendant made a false statement (Section 1001(a)(2)) or falsi-
            fied, concealed, or covered up a fact (Section 1001(a)(1));

      (2)   the statement was made in any matter within the federal govern-
            ment’s jurisdiction;

      (3)   the defendant acted knowingly and willfully;

      (4)   the false statement was material to the federal government’s ac-
            tivities or decisions.




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See United States v. Atalig, 502 F.3d 1063, 1067 (9th Cir. 2007); Ninth Circuit

Model Criminal Jury Instruction 24.10.

      Of those four elements, only the making of a false statement or the con-

cealment of a fact is a conduct element. The remaining elements describe ad-

ditional circumstances that must be present for the defendant’s conduct to be-

come criminal. For example, the second element requires the statement to

concern matters within the federal government’s jurisdiction. The third re-

quires the speaker to act with criminal intent. And the fourth requires the

statement objectively to be capable of affecting the government’s activities.

Those elements do not define the defendant’s acts, though they remain essen-

tial elements of the offense that the government must prove beyond a reason-

able doubt. Accordingly, the “act[] of the accused that violate[s] [the] statute”

under the locus delicti test, Johnston, 351 U.S. at 220, is the making of the

false statement (or the concealment of a fact).

      Cabrales is directly on point here. There, an essential element of the

money-laundering offenses was the unlawful source of the laundered funds.

But that element merely described a necessary characteristic of the funds for

the financial transaction—the conduct element—to constitute a crime. See 524

U.S. at 7-8. So too here: the element of materiality merely describes a char-

acteristic of the false statement that is necessary for criminal consequences to




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arise. But that does not make it a conduct element relevant to determining

proper venue for a Section 1001 charge.

      The Tenth Circuit reached that very conclusion in United States v.

Smith, 641 F.3d 1200 (2001). There, the government was investigating the

defendant for embezzling money from a nonprofit organization in Oklahoma.

See id. at 1203. During the investigation, however, the defendant resigned and

moved to Minnesota. See id. A federal agent traveled from Oklahoma to Min-

nesota to interview the defendant, and the defendant made false statements

about his activities in Oklahoma during the course of that interview. See id. at

1204. The government tried the defendant in the Western District of Okla-

homa, where the investigation originated, for violating Section 1001. The de-

fendant was convicted.

      The Tenth Circuit vacated the defendant’s Section 1001 conviction on

the ground that venue was improper. See 641 F.3d at 1207, 1209. The court

explained that Section 1001 does not include “any language suggesting any

‘essential conduct element’ other than making a false statement.” Id. at 1207

(citation omitted). The locus delicti, the court thus concluded, “is where the

defendant makes the false statement”—there, in Minnesota. Id. The court

squarely rejected the government’s position that venue is proper in any dis-

trict with “substantial contacts” with the crime. Id. at 1208. In addition, the

court concluded that the violation was not a “continuing offense” that occurred



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in multiple districts, because the statements “began, continued, and ended

during the interview” in Minnesota. Id. at 1208-1209.*

       The Eleventh Circuit subsequently relied on the Tenth Circuit’s decision

in Smith to conclude that venue for a Section 1001 charge is “proper only in

the district or districts where the defendant made the false statement.”

United States v. John, 477 Fed. Appx. 570, 572 (2012). In that case, govern-

ment agents from the Northern District of Florida interviewed the defendant

in the Southern District of Florida in connection with a wire-fraud investiga-

tion, seeking “to determine the nature of her involvement in the fraud and to

assess her credibility as a potential government witness.” Id. at 571 (footnote

omitted). The defendant made a false statement during the interview and was

indicted, tried, and convicted in the Northern District of Florida. See id. at

572. The Eleventh Circuit vacated the defendant’s conviction on the ground

that venue was improper. See id. Expressly agreeing with the Tenth Circuit,

   *
    The Tenth Circuit noted that “[t]he interview [in Minnesota] was not rec-
orded, transcribed, or otherwise preserved for use in Oklahoma.” 641 F.3d at
1209. But it is unclear why the existence of a recording or transcription would
affect the relevance of the materiality element, which concerns the potential
effect of the “fact”—or “information”—being conveyed. See United States v.
Johnson, 19 F.4th 248, 259 (3d Cir. 2021); United States v. Service Deli Inc.,
151 F.3d 938, 941 (9th Cir. 1998); United States v. Johnson, 530 F.2d 52, 55
(5th Cir. 1976). The Tenth Circuit has not treated the lack of a recording or
transcription as essential to Smith’s holding. See United States v. Acosta-Gal-
lardo, 656 F.3d 1109, 1121 (10th Cir. 2011) (describing Smith as holding that
that “venue would have been proper only in Minnesota, where the false state-
ment was made”).

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the Eleventh Circuit held that the location of the government’s investigation

had no bearing on where the crime was committed because the government

investigation was distinct from the defendant’s “own offense conduct,” which

“began, continued, and was completed in the Southern District of Florida.” Id.

      The Tenth and Eleventh Circuits’ treatment of materiality as a circum-

stance element is consistent with the Supreme Court’s treatment of Section

1001’s jurisdiction element in United States v. Yermian, 468 U.S. 63 (1984).

There, the Supreme Court explained that Section 1001’s jurisdictional element

is a “predicate circumstance” that serves to “identify the factor that makes the

false statement an appropriate subject for federal concern.” Id. at 69. The

same reasoning applies to the materiality element: it helps to determine

whether a false statement is appropriate for “federal concern” by asking

whether the statement had a “natural tendency to influence, or was capable of

influencing, the decision” of the relevant governmental body. United States v.

Gaudin, 28 F.3d 945, 950 (9th Cir. 1994) (citation omitted), aff’d, 515 U.S. 506

(1995). It is thus a “predicate circumstance” of a Section 1001 violation, rather

than the actual conduct prohibited by the statute. The location of the govern-

ment action that the statement could potentially influence is not the location

of the offense and thus not an appropriate venue. See Rodriguez-Moreno, 526

U.S. at 280.




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      Properly applied, the locus delicti test makes clear that venue is inap-

propriate in the Central District of California. The charged conduct took place

entirely outside that district: the statements at issue were made by Congress-

man Fortenberry during the course of in-person interviews with government

agents in Nebraska and Washington, D.C. See 2-ER-197, 2-ER-201–02. The

district court’s decision to permit venue in the Central District of California

was erroneous.

      C.     The District Court Erred By Adopting An Effects-Based Test
             For Determining Venue For Section 1001 Prosecutions
      In holding that venue was proper in the Central District of California,

the district court reasoned that, because Section 1001 prohibits “materially

false statements,” the court must consider “both the statement and its poten-

tial effect.” 1-ER-116. According to the district court, venue was proper in

the Central District because the “potential effect” of Congressman Forten-

berry’s statements was on the government investigation in Los Angeles. That

conclusion is deeply flawed.

      1.     The district court’s reasoning improperly shifts the focus of the

venue inquiry from the defendant to the government. Under the Constitution,

venue lies only where the defendant’s “crime[] shall have been committed.”

Art. III, § 2, cl. 3. The locus delicti is the “location of the act” constituting the

crime. Cabrales, 524 U.S. at 7. But the district court determined the locus

delicti based on the crime’s “potential effects” on the government. In other

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words, the district court decided that venue was proper not where the defend-

ant committed the relevant act, but rather where the government investigated

the crime. See 1-ER-116.

      At the root of the district court’s error is its conclusion that materiality

is an essential conduct element of a Section 1001 offense. As the district court

recognized, the materiality of a statement depends on the “intrinsic capability”

of the statement to influence an investigation. 1-ER-116. In other words, ma-

teriality is assessed based on the face of the defendant’s statement and re-

quires no further conduct by the defendant. Nor does it require any actual

effect on the government; a statement may be material “even if [it] miss[es]

spectacularly or stand[s] absolutely no chance of succeeding.” 1-ER-116. Ac-

cordingly, the criminal act is completed as soon as the false statement of ma-

terial fact is made—regardless of any future effects. The location of the inves-

tigation is thus wholly irrelevant to the question of where the criminal conduct

occurred.

      In reaching the contrary conclusion, the district court conflated an es-

sential element with an essential conduct element. According to the district

court, materiality is essential because, “[a]bsent materiality, a false statement

is not conduct proscribed by law.” 1-ER-117. The district court disagreed

with the Tenth and Eleventh Circuits because, in its view, those courts did “not

explain how the act of making a false statement—without consideration of its



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materiality—can be considered the prohibited act.” 1-ER-117. It is true, of

course, that materiality is an essential element of a Section 1001 violation. But

the locus delicti test requires courts to look to the essential conduct elements

of the crime—“the acts of the defendant [that] constituted the violation,” An-

derson, 328 U.S. at 705—and not to any element more generally deemed es-

sential.

       2.    To be sure, three other courts of appeals have adopted an “ef-

fects”-based test for determining venue for Section 1001 offenses. Those de-

cisions are incorrect.

       Start with the Seventh Circuit’s decision in United States v. Ringer, 300

F.3d 788 (2002). There, federal agents interviewed the defendant in Kentucky,

and the defendant made false statements about an acquaintance’s drug-traf-

ficking activities in Indiana. See id. at 790. As a result of those false state-

ments, the government dropped its drug-trafficking investigation of the ac-

quaintance. The government tried and convicted the defendant in Indiana for

violating Section 1001, and the Seventh Circuit held that venue was proper

there. The court reasoned that “events took place [in Indiana] which were

critical to proving the elements of the false statements case,” because “the

halting of the investigation against [the acquaintance] in the Southern District

of Indiana was evidence of the materiality of Ringer’s statements.” Id. at 791-

792.



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      The Seventh Circuit erred by asking where events “critical to proving

the elements” of the offense occurred. Ringer, 300 F.3d at 791. Properly un-

derstood, the locus delicti test asks where the defendant’s conduct occurred.

See Rodriguez-Moreno, 526 U.S. at 279. The Seventh Circuit did not focus on

the essential conduct elements of the offense: its only discussion of the de-

fendant’s conduct was its claim that the Southern District of Indiana’s “strong

link to [the defendant’s] conduct makes it relevant to determining venue, not

as an explicit geographic element . . . but as a place where events took place

that were necessary to establish materiality.” Id. at 792. The Supreme Court

has required more than a “link” between the defendant’s essential conduct and

venue: venue lies only in the district where the “conduct constituting the of-

fense” actually occurred. Rodriguez-Moreno, 526 U.S. at 279.

      What is more, the Seventh Circuit’s analysis is flawed on its own terms,

because the “events [that] took place” in Indiana were not “necessary to es-

tablish materiality.” Ringer, 300 F.3d at 792. As the Seventh Circuit recog-

nized, “the government does not have to prove that a proceeding was affected,”

id.; it needed only to prove that the false statements would naturally affect the

investigation. While the Seventh Circuit did assert that the objective nature

of the materiality inquiry “does not mean that the Indiana investigation was

irrelevant,” id., it provided no support for the assertion that the mere “rele-

vance” of a jurisdiction to a case supplies a sufficient basis for venue.



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      The Second Circuit made a similar error in United States v. Coplan, 703

F.3d 46 (2012). There, the court held that venue was proper in the Southern

District of New York for a Section 1001 charge based on the defendant’s state-

ment during a deposition conducted in Tennessee. See id. at 78. Applying

reasoning similar to the Seventh Circuit’s, the Second Circuit held that venue

was proper in the Southern District of New York because the element of ma-

teriality was a conduct element that “require[d] evidence that th[e] statements

were conveyed to or had an effect on the IRS investigators working in the

Southern District of New York.” Id. at 79. But the Second Circuit did not

explain why it viewed the materiality element as a conduct element. And it

erred in reasoning that evidence of the transmission of the false statements by

the federal agents who heard the statements to other federal agents was re-

quired in order to prove materiality. See Gaudin, 28 F.3d at 950.

      The Fourth Circuit’s reasoning in United States v. Oceanpro Industries,

Ltd., 674 F.3d 323 (2012), is similarly flawed. There, the court adopted an ef-

fects-based test for determining venue on the ground that “Congress ha[s] the

power to define the essential conduct elements of a criminal offense in terms

of their effects, thus providing venue where those effects are felt.” Id. at 328

(internal quotation marks, citation, and emphasis omitted). But while Con-

gress can, subject to constitutional limitations, “indicate where [it] considered

the place of committing the crime to be,” Anderson, 328 U.S. at 703, there is



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no indication it did so with respect to Section 1001. There is no venue provision

in Section 1001 itself, and no other statute designates venue for Section 1001

offenses. Nor does Congress’s decision to require proof of materiality demon-

strate that Congress defined the essential conduct element of Section 1001 “in

terms of its effects”—particularly when materiality does not require any ac-

tual effect on governmental decisionmaking. See Gaudin, 28 F.3d at 943.

       Section 1001 stands in stark contrast to statutes that plainly provide for

venue based on the effects of the offense. For example, the witness-tampering

statute includes a special venue provision stating that a prosecution “may be

brought in the district in which the official proceeding . . . was intended to

be affected or in the district in which the conduct constituting the alleged of-

fense occurred.” 18 U.S.C. § 1512(i) (emphasis added). Any constitutional con-

cerns notwithstanding, the statute recognizes that conduct and effect are dis-

tinct, and it expressly provides for venue both in the district where the conduct

occurred and in the district where the effect was intended. Section 1001, on

the other hand, does not include any such special venue provision, so venue is

proper only in the district where the essential conduct constituting the offense

occurred. See Rodriguez-Moreno, 526 U.S. at 279 n.1; Anderson, 328 U.S. at

703.

       In addition, Congress knows how to “define the essential conduct ele-

ments of a criminal offense in terms of their effects,” and it has expressly done



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so for multiple offenses. Oceanpro, 674 F.3d at 328 (citation and emphasis

omitted). For example, the Hobbs Act imposes criminal penalties on any per-

son who “obstructs, delays, or affects commerce or the movement of any article

or commodity in commerce, by robbery or extortion.” 18 U.S.C. § 1951(a) (em-

phasis added); see also United States v. Smith, 198 F.3d 377, 383 (2d Cir. 1999).

And the Computer Fraud and Abuse Act imposes criminal penalties on anyone

who “intentionally accesses a protected computer without authorization, and

as a result of such conduct, causes damage and loss.” 18 U.S.C. § 1030(a)(5)(C)

(emphasis added); see also United States v. Auernheimer, 748 F.3d 525, 537

(3d Cir. 2014).

      Because Section 1001 does not specifically provide for venue based on

effects and does not require an actual effect on a governmental decision, the

effects-based test is inappropriate. The Court should thus apply the tradi-

tional locus delicti test and hold that Congressman Fortenberry could not be

prosecuted in the Central District of California for statements he made in Ne-

braska and Washington, D.C.

      D.    The Special Venue Statute For Continuing Offenses Does Not
            Apply
      The district court did not rely on the special venue statute for continuing

criminal offenses, 18 U.S.C. § 3237(a), see 1-ER-112–18, and it was correct not

to do so. As this Court has explained, “[c]rimes consisting of a single noncon-

tinuing act are ‘committed’ in the district where the act is performed.” United

                                       37
States v. Corona, 34 F.3d 876, 879 (9th Cir. 1994). But where an offense is

considered to be continuing, a special venue provision applies. Under Section

3237(a), “any offense against the United States begun in one district and com-

pleted in another, or committed in more than one district, may be inquired of

and prosecuted in any district in which such offense was begun, continued, or

completed.” Continuing offenses include crimes consisting of “distinct parts

which have different localities,” such as certain types of conspiracy, Rodri-

guez-Moreno, 526 U.S. at 281 (citation omitted), or crimes “involving a contin-

uously moving act” that is “committed wherever the wrongdoer roamed,” such

as kidnapping, Travis v. United States, 364 U.S. 631, 636 (1961) (internal quo-

tation marks and citation omitted).

         The charges against Congressman Fortenberry do not involve a contin-

uing offense. The Congressman made the statements in question during dis-

crete interviews in Nebraska and Washington, D.C. Those interviews did not

span space or time; each occurred in a single sitting, with federal officers

speaking directly with the Congressman in person. His statements are thus

distinct from a false-statements charge involving mail or telephone conversa-

tions, in which the speaker directed his statements to a person located in a

different jurisdiction. Cf., e.g., United States v. Stephenson, 895 F.2d 867, 875

(2d Cir. 1990); De Rosier v. United States, 218 F.2d 420, 422-423 (5th Cir.

1955).



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      Although the district court suggested that Congressman Fortenberry’s

statements “were directed at” the Central District of California, 1-ER-116, the

indictment did not make that allegation, and the evidence at trial shows that

the statements were directed at federal agents in Nebraska and Washington,

D.C. Cf. D. Ct. Dkt. 18, at 21; 9-ER-2109. The fact that the statements could

have a “potential effect” on the Central District does not mean the defendant

“directed” the statements at that district. Nor does the fact that the govern-

ment investigation continued in the Central District transform the false-state-

ments charge into a continuing offense. It is the defendant’s continuing con-

duct—not that of the government—that matters for purposes of venue.

      This Court’s decision in United States v. Angotti, 105 F.3d 539 (1997), is

not to the contrary. In that case, the Court held that the crime of making false

statements on a loan application under 18 U.S.C. § 1014 “continues until the

communication is received by the person or persons whom it is intended to

affect or influence.” Angotti, 105 F.3d at 543. Even assuming Angotti remains

good law after Cabrales and Rodriguez-Moreno clarified the locus delicti test,

it is readily distinguishable. Section 1014 punishes anyone who “knowingly

makes any false statement or report” in a loan or credit application “for the

purpose of influencing in any way the action” of a federally insured institution.

The false statement thus had to be communicated to the relevant institution in




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order to show the necessary purpose, and that occurred when the communica-

tion was received in the relevant district. Section 1001 requires no correspond-

ing purpose.

      Indeed, this Court has effectively limited Angotti on that basis. In

United States v. Marsh, 144 F.3d 1229 (1998), the Court considered the proper

venue for the crime of endeavoring to impede the administration of the tax

laws by filing commercial liens in Nevada and Washington against government

agents from the Northern and Eastern Districts of California. Id. at 1233.

The government invoked Angotti and argued that venue in the Northern Dis-

trict of California was appropriate because “an effect of the filing of the liens

was an impact on the IRS officers in San Jose, California, who were conducting

a criminal investigation of the defendants.” Id. at 1242. This Court rejected

that argument, explaining that “the crime of endeavoring to impede the IRS

is complete when the endeavor is made”; “[t]he government did not have to

show that its agents abandoned their investigation or even that the agents

were anxious about the effect of the liens on their credit.” Id. In other words,

“[n]o effect need be proved” because “[t]he filing of the lien is the crime.” Id.

The court therefore held that venue was improper and set aside the convic-

tions. See id.

      The reasoning of Marsh applies with equal force here. The criminal act

of making a false statement “is complete when the [statement] is made.” 144



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F.3d at 1242. “The government did not have to show that” the statement ac-

tually affected the investigation in the Central District of California, because

“[n]o effect need be proved.” Id. The Court should follow that reasoning here

and vacate Congressman Fortenberry’s convictions because the venue was im-

proper.

II.   THE JURY INSTRUCTION ON MATERIALITY CONSTITUTED
      AN INCOMPLETE STATEMENT OF THE LAW
      On the merits, the district court’s jury instructions diluted the element

of materiality to the point of rendering it meaningless. The materiality of a

false statement is measured in light of the relevant decision before the appli-

cable government agency at the time the statement was made. As a matter of

law, however, a false statement is not material merely because it could cause

the agency to investigate the truth of the statement itself. Because the district

court declined to instruct the jury on that point of law, there is no way of know-

ing whether the jury convicted Congressman Fortenberry merely because his

statements could have caused the government to investigate the truth or fal-

sity of those statements. If the Court does not vacate his convictions because

of improper venue, it should do so because of instructional error and remand

for a new trial.




                                       41
      A.    A Statement Is Not ‘Material’ Merely Because It Could Cause
            The Government To Investigate The Truth Of The Statement
            Itself
      Federal law does not criminalize every false statement made to the gov-

ernment. Materiality is the legal standard that separates false statements of

consequence from false statements of little or no significance. Under the com-

mon law, a false statement was not criminal unless it was “in some point ma-

terial to the question in dispute” and did not concern only “some trifling col-

lateral circumstance, to which no regard is paid.” 4 William Blackstone, Com-

mentaries *137. In light of the common law, “it is unsurprising that a number

of federal statutes criminalizing false statements to public officials” incorpo-

rate a “materiality” requirement. Kungys v. United States, 485 U.S. 759, 769

(1988).

      Section 1001 is one of those statutes.        As relevant here, Section

1001(a)(2) criminalizes only a “materially false, fictitious, or fraudulent state-

ment or representation,” and Section 1001(a)(1) criminalizes only the falsifica-

tion or concealment by “trick, scheme or device” of a “material fact” (assuming

the jurisdictional and intent elements are satisfied).

      By inserting a materiality requirement into Section 1001, Congress lim-

ited the types of false statements that could give rise to criminal consequences

based on the potential effects of the statement on the listener. As already ex-




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plained, a false statement is material only if it has “a natural tendency to influ-

ence, or was capable of influencing,” a specific decision of a governmental

agency. Gaudin, 28 F.3d at 950 (citation omitted). And as the Supreme Court

made clear in affirming this Court’s decision in Gaudin, materiality is a “mixed

question of law and fact” that “requires the determination of at least two sub-

sidiary questions” of historical fact: “what statement was made?” and “what

decision was the agency trying to make?” United States v. Gaudin, 515 U.S.

506, 512 (1995) (citation omitted). Accordingly, only after identifying the

“statement” and the relevant “decision” can a jury answer the “ultimate ques-

tion” of “whether the statement was material to the decision.” Id.

      Following the Supreme Court’s decision in Gaudin, courts of appeals

have consistently evaluated the materiality of false statements by looking at

the relevant decision that the government agency was trying to make. Al-

though materiality is ultimately a jury question, not every governmental deci-

sion is legally sufficient to establish materiality in a Section 1001 prosecution.

It is thus the court’s job to ask whether the particular government action at

issue is “the type of decision that, without more, itself gives rise to material-

ity,” thereby “supporting a conviction under [Section] 1001.” United States v.

Johnson, 19 F.4th 248, 260-261 (3d Cir. 2021); see also United States v.

Camick, 796 F.3d 1206, 1218-1219 (10th Cir. 2015).




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      In particular, courts have routinely made clear that, as a matter of law,

an investigation into the truth of the statement alleged to be false is not the

kind of governmental decision that can support a finding of materiality under

Section 1001. The Second Circuit expressly reached that conclusion in United

States v. Litvak, 808 F.3d 160 (2015). There, the defendant had been charged

and convicted of making false statements to the Department of the Treasury.

The government argued that the statements were material because they were

capable of causing Treasury to “refer[] the matter . . . for investigation.”

Id. at 173 (citation omitted).

      The Second Circuit disagreed. See 808 F.3d at 173-174. The court ex-

plained that “every prosecution for making a false statement undoubtedly in-

volves decisions by the government to refer for investigation, investigate, and

prosecute the defendant for making the false statement at issue.” Id. at 173

(internal quotation marks omitted). But, the court reasoned, “neither the fact

that the [government] decided to refer Litvak’s statements for investigation,

nor that the government subsequently decided to conduct an investigation and

prosecute Litvak for those statements, has any bearing on the materiality of

those statements as required by the statute.” Id. at 174. “[T]he materiality

element would be rendered meaningless,” the court explained, “if it were suf-

ficient for the government merely to establish the capability of the false state-

ment to influence an agency staffer’s, investigator’s, or prosecutor’s decision



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to refer for investigation, investigate, or prosecute the defendant for the very

statement at issue.” Id. at 173 (internal quotation marks omitted).

      In Johnson, supra, the Third Circuit agreed with the Second Circuit’s

approach in Litvak. The defendant there was convicted of making a false

statement under Section 1001 because he “posed as an attorney and filed a

fabricated document on the civil docket of one of the lawsuits against [Bill]

Cosby.” 19 F.4th at 252. Concluding that the case before it was “even further

afield” than Litvak, the Third Circuit reversed the conviction. Id. at 260 The

court focused on the question of “what decision was the agency trying to

make,” concluding that it was “fatal to the Government’s case” that there was

simply “no decision entrusted to the Judge [that] could have possibly been in-

fluenced by the [document].” Id. at 257 (quoting Gaudin, 515 U.S. at 512). The

Third Circuit explained that, if “the mere fact that the governmental deci-

sionmaker ha[s] received the misstatements and that its staff had reviewed

[them]” could be sufficient, it would “render the materiality element meaning-

less, and the scope of [Section] 1001 absurd.” Id. at 260 (internal quotation

marks, citation, and alteration omitted).

      In sum, the scope of Section 1001 is limited by its materiality require-

ment. And the relevant decision against which materiality is measured cannot

be the (theoretical or actual) decision to investigate the truth of the very state-

ment at issue. Otherwise, every false statement to a government official would



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be necessarily material—and the element of materiality would serve no func-

tion at all.

       B.      Adopting A Broad Reading of Materiality Would Raise Seri-
               ous Constitutional Concerns
       The district court’s conclusion that a statement is material whenever it

might cause the government to investigate the truth of that very statement

raises serious constitutional concerns. Due process not only “guarantees that

people have ‘fair notice’ of the conduct a statute proscribes,” but also “guards

against arbitrary or discriminatory law enforcement by insisting that a statute

provide standards to govern the actions of police officers, prosecutors, juries,

and judges.” Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018). Yet under the

district court’s broad reading of Section 1001’s materiality requirement, the

doors of federal court would be open to the prosecution of any false statement

to any government official. Such a sweeping reading of Section 1001 would

“encourage arbitrary and discriminatory enforcement,” Kolender v. Lawson,

461 U.S. 352, 357 (1983), and “hand off the legislature’s responsibility for de-

fining criminal behavior to unelected prosecutors and judges,” United States

v. Davis, 139 S. Ct. 2319, 2323 (2019). Under the district court’s view, false

statements to government officials would be material by definition, and the

government could always secure a conviction under Section 1001 simply by

showing that it took steps to prove the statement was in fact false.




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      Consistent with the Supreme Court’s repeated refusals to embrace

overly broad interpretations of criminal statutes, see, e.g., Yates v. United

States, 574 U.S. 528, 536, 543 (2015); Skilling v. United States, 561 U.S. 358,

410-12 (2010), this Court should refrain from blessing such a limitless inter-

pretation of Section 1001. Indeed, in recent years, the Supreme Court has

narrowly construed even public-corruption statutes, so as to “prevent [those]

statutes from criminalizing all acts of dishonesty by state and local officials.”

Kelly v. United States, 140 S. Ct. 1565, 1571 (2020); see McDonnell v. United

States, 136 S. Ct. 2355, 2357 (2016). Here, the district court’s reading of Sec-

tion 1001 would create an even bigger problem: it would criminalize every dis-

honest statement to government officials about any matter within the jurisdic-

tion of the United States. That result cannot be squared with the Supreme

Court’s refusal to interpret statutes as criminalizing all dishonest acts by gov-

ernment officials.

      If read so sweepingly, Section 1001 would “arm[] Government agents

with authority not simply to apprehend lawbreakers, but to generate felonies”

and “create a crime” out of induced statements that “misled no one.” Brogan,

522 U.S. at 409-410, 416 (Ginsburg, J., concurring). It would confirm that Sec-

tion 1001 is an “ever-metastasizing” provision, United States v. Moore, 612

F.3d 698, 702 (D.C. Cir. 2010) (Kavanaugh, J., concurring), which punishes

“the most casual false statements so long as they turned out, unbeknownst to



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their maker, to be material to some federal agency function,” Yermian, 468

U.S. at 82 (Rehnquist, J., dissenting). This Court should refuse to adopt such

a boundless interpretation.

      C.    The District Court Erred By Declining To Give Congressman
            Fortenberry’s Jury Instruction On Materiality
      The jury was not correctly instructed on the materiality element. The

district court told the jury that a fact or statement is material if “it had a nat-

ural tendency to influence, or was capable of influencing, the decisions or ac-

tivities of a [g]overnment agency.” 8-ER-1928. It also explained that “[m]ate-

riality must be judged by the facts and circumstances of the investigation at

issue in this case.” 8-ER-1928. But the court declined to instruct the jury that

“[a] false statement is not material merely because it causes the government

to investigate the veracity, truth, or falsehood of the statement itself.” 8-ER-

1762. The defense proposed that instruction out of a “concern in this case”

that “the government’s investigation appears to be mostly into whether the

[C]ongressman’s statements were in fact true or false.” 1-ER-66. “If that

were the basis for materiality,” the defense continued, the materiality element

would be “subsumed in . . . the false statement element.” 1-ER-66.

      In rejecting Congressman Fortenberry’s request that the jury must be

instructed that materiality cannot be premised merely on a statement’s ability

to influence an investigation “to determine whether his statements were true

or false,” 8-ER-1766, the district court took the view that such an instruction

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would “misstate[] the law,” 1-ER-68. The district court quoted a passage from

Brogan v. United States, 522 U.S. 398 (1998), in which the Supreme Court ex-

plained that “[c]ertainly the investigation of wrongdoing is a proper govern-

mental function, and since it is the very purpose of an investigation to uncover

the truth, any falsehood relating to the subject of the investigation perverts

that function.” 8-ER-1767. In the district court’s view, that passage “pre-

clude[d]” the requested instruction. 8-ER-1767.

      That conclusion was erroneous. In Brogan, the Supreme Court ad-

dressed only the question whether a “false statement that consists of the mere

denial of wrongdoing”—an “exculpatory no”—could constitute a “false state-

ment” within the meaning of Section 1001. See 522 U.S. at 399. Even the gov-

ernment had recognized that “the materiality of the false statement” was not

before the Court. See U.S. Br. at 21, 1997 WL 597302 (No. 96-1579). Put an-

other way, the Court focused in Brogan on the first question it had discussed

in Gaudin: “what statement was made?” Gaudin, 515 U.S. at 512. And be-

cause Section 1001 “covers ‘any’ false statement,” the Court held that a Section

1001 prosecution can validly rest on a defendant’s “exculpatory no” statement.

Brogan, 522 U.S. at 400. The second question raised in Gaudin—“what deci-

sion was the agency trying to make?”—was not at issue before the Court in

Brogan. 515 U.S. at 512. And the Court in no way disturbed the two-question




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approach it had set out in Gaudin. See Johnson, 19 F.4th at 257; Litvak, 808

F.3d at 172-173.

      In Section 1001 cases, the relevant governmental decision is the fact that

can transform any garden-variety false statement into one that is material; it

is what distinguishes lies from crimes. Because the materiality standard is an

objective one, see United States v. Service Deli Inc., 151 F.3d 938, 941 (9th Cir.

1998), a focus on the decision the agency is trying to make is critical. If Section

1001 covers any false statement that could influence an investigation into the

statement’s truth, every statement to a government official would be mate-

rial—because the government could always choose to investigate the truth of

any statement made to it. The distinction between criminal statements and

lawful ones would thus entirely turn on proof of falsity, and the materiality

element would become “meaningless.” See Litvak, 808 F.3d at 173; Johnson,

19 F.4th at 260. But as this Court confirmed in the analogous context of a

perjury prosecution, see United States v. Culliton, 328 F.3d 1074, 1078 (9th

Cir. 2003), “simply offering the allegedly false statement itself is not enough”

to prove that the statement “alleged to be false was material,” United States

v. Leon-Reyes, 177 F.3d 816, 819-820 (9th Cir. 1999). The district court’s con-

clusion—that every government investigation seeks the truth, and that there-

fore any false statement to investigators is always material—is unsupported

and erroneous.



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      Contrary to the government’s contention below, see D. Ct. Dkt. 208, at

12; 9-ER-2131, this Court’s decision in United States v. Matanky, 482 F.2d

1319 (1973), did not bless such an expansive reading of Section 1001. The scope

of the materiality requirement under Section 1001 was not at issue in

Matanky. There, the question was whether the submission of false Medicare

reimbursement forms to “private insurance carriers rather than directly to the

government” could “be deemed to contain statements ‘in a matter within the

jurisdiction of any department or agency of the United States,’ within the

meaning of [S]ection 1001.” Id. at 1322. The defendant argued that, if those

forms were considered “statements” within the government’s jurisdiction,

Section 1001 would be unconstitutionally vague. Id. This Court disagreed,

concluding that there were “no vagueness problems with [S]ection 1001, either

as construed or as applied to th[at] case.” Id. But that holding was plainly

limited to the question of what qualifies as a “statement” within federal juris-

diction for purposes of Section 1001. The Court did not reach the issue of what

government “decision” is legally capable of turning a false statement into a

material false statement.

      D.    Vacatur Is Required To Remedy The Instructional Error

      The district court’s error requires vacatur and a new trial. As a general

matter, “[a]n erroneous jury instruction that describes an element of the of-

fense is harmless only if it is clear beyond a reasonable doubt that a rational



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jury would have found the defendant guilty absent the error.” United States

v. Castillo-Mendez, 868 F.3d 830, 839 (9th Cir. 2017) (internal quotation marks

and citation omitted). But where “jurors have been left the option of relying

upon a legally inadequate theory” of the crime, “there is no reason to think

that [the jurors’] own intelligence and expertise will save them from that er-

ror.” Griffin v. United States, 502 U.S. 46, 59 (1991). In that circumstance,

the law “requires that the conviction be vacated and the case retried.” United

States v. Barona, 56 F.3d 1087, 1098 (9th Cir. 1995); accord United States v.

Borrero, 771 F.3d 973, 976-977 (7th Cir. 2014).

      This Court’s decision in Barona, supra, is instructive. There, two de-

fendants were convicted of being principal administrators, organizers, or lead-

ers of a continuing criminal enterprise, undertaken “in concert with five or

more other persons with respect to whom [each defendant] occupies a position

of organizer, a supervisory position, or any other position of management.” 56

F.3d at 1096 (citation omitted). The government “produced an extensive list

of individuals, allowing the jury to pick those it felt met the definition of super-

visee,” yet “[t]he jury was not instructed . . . that individuals qualify as su-

pervisees only if they were those over whom [the defendants] exercised man-

agerial responsibility.” Id. at 1096-1097. And “among the list of people who

the jury was told that it could choose, there existed individuals that the jury

was not allowed to choose as a matter of law.” Id. at 1097. Relying on the



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Supreme Court’s decision in Griffin, supra, this Court remanded for a new

trial because it could not “tell whether the jury selected one of the purported

supervisees who was actually ineligible.” Id. at 1098.

      The same is true here. The district court declined to instruct the jury

that a false statement could be material only if the statement had the ability of

influencing a decision other than an investigation into the truth of the state-

ment itself. See 8-ER-1766–67. But one theory of materiality clearly pre-

sented by the government to the jury was that Congressman Fortenberry’s

statements were material to the government’s decision to investigate the truth

of those statements themselves.

      The record contains evidence that the purpose of the Nebraska inter-

view was to see whether Congressman Fortenberry would lie. One of the FBI

agents who interviewed him (Agent Choe) testified that the purpose of the Ne-

braska interview was to “test his credibility” by “see[ing] what information, if

any, the Congressman would provide about the June 4th, 2018, phone call”

from Dr. Ayoub. 7-ER-1534–35. And in the memorandum used to obtain ap-

proval for that interview, another FBI agent (Agent Carter) wrote that, “if

case agents determine from the interview that Fortenberry is making false

statements[,] he will be charged with False Statement.” 9-ER-2097.

      The record also contains evidence that the FBI viewed Congressman

Fortenberry’s statements as important primarily because, in their view, they



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were not truthful. The IRS agent who accompanied the FBI agents to Ne-

braska (Agent O’Leary) testified that the Congressman’s statements in Ne-

braska were “significant to the [f]ederal investigation” because the “basis of

asking and listening to the answers to those questions were to understand that

they’re false.” 6-ER-1279. Agent Choe similarly testified that the Nebraska

interview “heightened [the government’s] concerns about the defendant . . .

[b]ecause the statements that the defendant made during that interview were

inconsistent with . . . the information that had been told to him by Elias

Ayoub during the phone call.” 6-ER-1391. As for the Washington interview,

Agent Choe testified that, at that point, the government was “considering

whether it would be appropriate to bring a false statements charge against”

the Congressman. 6-ER-1392. Agent Choe added that the statements caused

the government to perform additional investigative steps to see if the Con-

gressman was telling the truth, such as “reviewing the defendant’s FEC fil-

ings.” 7-ER-1430, 7-ER-1450.

      Based on the foregoing evidence, one of the governmental decisions on

which the jury could have relied in making its materiality finding was the gov-

ernment’s “decision to refer for investigation, investigate, or prosecute the de-

fendant for the very statement at issue.” Litvak, 808 F.3d at 173-174 (internal

quotation marks omitted). As a matter of law, that decision cannot support a




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materiality finding. See Griffin, 502 U.S. at 59; Barona, 56 F.3d at 1098. Be-

cause there is no way to know whether the jury found Congressman Forten-

berry’s statements material based on a decision that it was not allowed to con-

sider as a matter of law, his convictions should be vacated.

                               CONCLUSION
      The judgment of the district court should be vacated, and the case re-

manded for further proceedings.

                                        Respectfully submitted,

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   29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

   is for a death penalty case and complies with the word limit of Cir. R. 32-4.

   complies with the longer length limit permitted by Cir. R. 32-2(b) because
   (select only one):

         it is a joint brief submitted by separately represented parties;
         a party or parties are filing a single brief in response to multiple briefs; or
         a party or parties are filing a single brief in response to a longer joint brief.

   complies with the length limit designated by court order dated                                           .
   is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature /s/ Kannon K. Shanmugam                                      Date 10/28/2022
(use “s/[typed name]” to sign electronically-filed documents)
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Form 8                                                                                         Rev. 12/01/2018
                 UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
     Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form17instructions.pdf

9th Cir. Case Number(s) 22-50144


The undersigned attorney or self-represented party states the following:

    I am unaware of any related cases currently pending in this court.

    I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

    I am aware of one or more related cases currently pending in this court. The
    case number and name of each related case and its relationship to this case are:




Signature /s/ Kannon K. Shanmugam                                      Date 10/28/2022
(use “s/[typed name]” to sign electronically-filed documents)




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Form 17                                                                                        New 12/01/2018
